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                     UNITED STATES DISTRICT COURT

                         DISTRICT OF NEW JERSEY

AHMAD ODEH, Individually and on ) No. 2:18-cv-17645-MCA-LDW
Behalf of All Others Similarly Situated, )
                                         ) CLASS ACTION
                         Plaintiff,      )
                                         )
      vs.
                                         )
IMMUNOMEDICS, INC., et al.,              )
                                         )
                         Defendants. )
                                         )

[Caption continued on following page.]

            REPLY TO COMPETING MOTIONS FOR APPOINTMENT
                         AS LEAD PLAINTIFF



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CHONGHO CHOI, Individually and on ) No. 2:19-cv-05151-MCA-LDW
Behalf of All Others Similarly Situated, )
                                         ) CLASS ACTION
                         Plaintiff,      )
                                         )
      vs.
                                         )
IMMUNOMEDICS, INC., et al.,              )
                                         )
                         Defendants. )
                                         )




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        The field of movants seeking appointment as lead plaintiff pursuant to the

Private Securities Litigation Reform Act of 1995 (“PSLRA”) in this case is down to

two – the Construction Industry and Laborers Joint Pension Trust (“the Pension

Trust”) and Boris Saljanin. 1 Only one movant is substantively unopposed: the

Pension Trust.

        Mr. Saljanin made “no argument against [the Pension Trust] other than pointing

out its relatively low[er] financial stake in the litigation.” Tsirekidze v. Syntax-Brillian

Corp., 2008 WL 942273, at *5 (D. Ariz. Apr. 7, 2008) (appointing institutional

investor that lacked the largest financial interest as lead plaintiff because it was the

first movant “that satisfie[d] both prongs of Rule 23”); see also ECF No. 20 at 3

(making no substantive arguments against the Pension Trust other than stating its

financial interest is smaller than Mr. Saljanin’s financial interest). For this reason

alone, the Pension Trust’s motion should be granted.

        Moreover, pursuant to the PSLRA, the Pension Trust’s status as the

presumptive lead plaintiff “may be rebutted only upon proof . . . that the


1
       On March 11, 2019, William Blanchette withdrew his motion. See ECF No. 13.
Similarly, on March 18, 2019, David Jenkins withdrew his motion. ECF No. 19. On
March 15, 2019, Amjad Fraitekh filed a response noting he “does not have the ‘largest
financial interest’ in the relief sought by the class.” ECF No. 18 at 2. Movants Franck
Alexandre Fiebig and Chongho Choi did not file a response brief and have
presumably abandoned their motions. See In re KIT Digital, Inc. Sec. Litig., 293
F.R.D. 441, 443 (S.D.N.Y. 2013) (“Two additional movants . . . did not file opposition
briefs, and thus the Court deems their applications abandoned or withdrawn.”).


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presumptively most adequate plaintiff . . . will not fairly and adequately protect the

interests of the class.” 15 U.S.C. §78u-4(a)(3)(B)(iii)(II) (emphasis added).

Importantly, the Third Circuit has made clear that unsupported allegations,

speculation, and innuendo are not proof of wrongdoing. In re Cendant Corp. Litig.,

264 F.3d 201, 270 (3d Cir. 2001) (“Allegations of impropriety are not proof of

wrongdoing. If they were, then any class member (or lawyer seeking to be appointed

lead counsel) could disable any presumptive lead plaintiff by making unsupported

allegations of impropriety.”). Rather, “‘exacting proof’ is needed to rebut the

presumption.” Murphy v. JBS S.A., 2017 WL 4480751, at *5 (E.D.N.Y. Oct. 6, 2017)

(citation omitted). There has been no attempt to rebut the presumption in the Pension

Trust’s favor and any argument made by Mr. Saljanin for the first time in a reply brief

would be deemed waived. See, e.g., Krys v. Aaron, 112 F. Supp. 3d 181, 197 n.18

(D.N.J. 2015) (“The Court will, accordingly deem arguments made for the first time in

reply waived.”).

        Indeed, the Pension Trust is the prototypical lead plaintiff candidate. ECF No.

21 at 6.     In 1995, Congress enacted the PSLRA for the express purpose of

encouraging institutional investors to serve as lead plaintiff in securities class actions.

See, e.g., H.R. Conf. Rep. No. 104-67, at 34 (1995), reprinted in 1995 U.S.C.C.A.N.

730, 733 (“[t]he Conference Committee seeks to increase the likelihood that

institutional investors will serve as lead plaintiffs”); Cendant, 264 F. 3d at 244 (“the


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PSLRA’s legislative history expressly states that Congress anticipated and intended

that such investors would serve as lead plaintiffs”). There is no dispute that as an

institutional investor, the Pension Trust has amply demonstrated its typicality and

adequacy.

        By providing the Court with his name and nothing more in his motion, Mr.

Saljanin failed to make the necessary prima facie showing of typicality and adequacy.

Clair v. DeLuca, 232 F.R.D. 219, 226-27 (W.D. Pa. 2005) (“[s]imply making a

motion for lead plaintiff status, taken alone, establishes nothing about the movant’s

adequacy to take on this burdensome task”). Recognizing that he failed to timely

demonstrate his bona fides, Mr. Saljanin now submits a declaration along with his

opposition. ECF No. 20-1. However, any submission made by Mr. Saljanin to

demonstrate that he satisfies both prongs of Rule 23 after the 60-day PSLRA deadline

for lead plaintiff motions (which expired on February 25, 2019) is untimely and

should be disregarded. See Anspach ex rel. Anspach v. City of Phila., 503 F.3d 256,

258 n.1 (3d Cir. 2007) (absent compelling circumstances, “failure to raise an argument

in one’s opening brief waives it”); Camp v. Qualcomm Inc., 2019 WL 277360, at *3

(S.D. Cal. Jan. 22, 2019) (denying individual’s lead plaintiff motion because he

“failed to include any basic details about himself, including where he lives or who he

is specifically in his motion” even though a declaration was subsequently submitted)

(emphasis added); Ross v. Abercrombie & Fitch Co., 2007 WL 895073, at *4 n.3


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(S.D. Ohio Mar. 22, 2007) (declining to consider declarations that were not submitted

with lead plaintiff motion); Schriver v. Impac Mortg. Holdings, Inc., 2006 WL

6886020, at *8 (C.D. Cal. May 2, 2006) (refusing to allow movant to submit

declarations where there was no reason the submissions could not have been made

with its initial motion); Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v.

LaBranche & Co., Inc., 229 F.R.D. 395, 410 (S.D.N.Y. 2004) (disregarding lead

plaintiff movant’s assertion of additional alleged losses first made in its opposition

“since, as one court has explained, the supplementation of a movant’s losses ‘is not

contemplated by the PSLRA . . . [and] supplementation after the expiration of the

sixty (60) day period would not only be inconsistent with the language and purposes

of the PSLRA, but would effectively nullify the time limits expressly provided

therein.’” (quoting In re Telxon Corp. Sec. Litig., 67 F. Supp. 2d 803, 819 (N.D. Ohio

1999)).




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        The Pension Trust is entitled to presumptive lead plaintiff status because it is

the only movant that satisfies both the financial interest and Rule 23 prongs of the

PSLRA. Accordingly, the Pension Trust’s motion (ECF No. 6) should be granted.

DATED: March 25, 2019                     Respectfully submitted,

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                                    [Proposed] Lead Counsel for the Class




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